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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND


   CHAMBERS OF
    Paula Xinis                                                                                    6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                                                           Greenbelt, MD 20770
                                                                                                             (301) 344-0653




              LETTER ORDER REGARDING THE FILING OF DISCOVERY MOTIONS

               To promote the just, speedy, and inexpensive resolution of this case, see Fed. R. Civ. P.
       1, the following procedure will be followed with respect to the filing of discovery motions (such
       as motions to compel, motions for a protective order, or motions seeking the imposition of
       sanctions). Any party wishing to file a motion first will serve on all parties and file with the
       Court a letter (not to exceed three pages, single spaced) that includes a brief description of the
       planned motion and a concise summary of the factual and legal support for it. Unless I notify
       you otherwise, no response to the letter should be filed. Upon filing of the letter, I will schedule
       an expedited telephone conference (usually within a week) to discuss the requested motion and
       to determine whether the issues may be resolved or otherwise addressed without the need for
       formal briefing. The telephone conference does not take the place of the parties’ obligation to
       meet and confer under the Federal Rules of Civil Procedure to attempt resolution of the issues
       without Court involvement.
               If I determine that the issues may not be resolved during the telephone call, I will consult
       with you to set a reasonable briefing schedule. If the letter described above is filed within the
       time allowed by the Federal Rules of Civil Procedure, Local Rules of Court, or any order issued
       by me in which to file the motion that the letter addresses, the time for filing the motion will be
       tolled to permit the scheduling of the telephone conference without the need to request an
       extension of time.
              Although informal, this is an Order of the Court and shall be docketed as such.



       Dated: June 9, 2020                                                             /S/
                                                                            PAULA XINIS
                                                                            United States District Judge




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    Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301 -344-0660

                               Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
